                     Case 4:08-cr-00315-RSB-CLR Document 1541 Filed 06/08/15 Page 1 of 1

A0247 (10;1 1) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)                               Page 1 of 2 (Page 2 Not for Public Disclosure)



                                                                UNITED STATES DISTRICT COURT
                                                                                                                                               FILED
                                                                                      for the                                     U.S. DISTRICT COURT
                                               Southern District of Georgia - Savannah Division                                      SAVANNAH DIV.
                        United States of America                    )                                                                       JUN -8 1015
                                         V.                                              )
                                                                                         )C Case No: 4:08-CR-00315-4
                           Charles Gregory Collins                                                                            CLERK
                                                                                         ) USM No: 11956-021
Date of Original Judgment:         December 7, 2009                                      ) Michael G. Schiavone                         SO. OIS'CbF G'A
Date of Previous Amended Judgment: N/A                                                   ) Defendant's Attorney
(Use Date of Last Amended Judgment, if any)


                                           Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)


         Upon motion of Lithe defendant Lithe Director of the Bureau of Prisons              the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § lB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
RX DENIED. GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the lassjudgment
                      Li
             issued) of        months is reduced to


                                                     (Complete Paris I and II of Page 2 when motion is granted)




 Except as otherwise provided above, all provisions of the judgment dated                           December 7. 2009, shall remain in effect.
 IT IS SO ORDERED.

 Order Date:              Jowews
                                                                                                                Judge's signature


                                                                                              William T. Moore, Jr.
                                                                                              Judge, U.S. District Court
 Effective Date: November 1, 2015                                                             Southern District of Georgia
                  (if d(fJerent from order dale)                                                               Printed name and title
